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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                             CASE NO.:18-cv-80911-BLOOM/Reinhart


  JERRY EISENBAND, individually
  and on behalf of all others similarly
  situated,

           Plaintiff,

  vs.

  SCHUMACHER AUTOMOTIVE, INC.,
  a Florida Corporation,

          Defendant.
  __________________________________________/

   DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S CLASS ACTION COMPLAINT OR, IN
          THE ALTERNATIVE, MOTION FOR MORE DEFINITE STATEMENT

           Defendant, SCHUMACHER AUTOMOTIVE, INC. (“Defendant”), hereby files its Motion

  to Dismiss the Class Action Complaint (“Complaint”) filed by the Plaintiff, JERRY

  EISENBAND, individually and on behalf of all others similarly situated (“Plaintiff”), or in the

  Alternative, Motion for More Definite Statement. In support thereof, Defendant states as

  follows:

  I.       PRELIMINARY STATEMENT

           Plaintiff’s Complaint for violation of the Telephone Consumer Protection Act, 47

  U.S.C. §227 et seq., (“TCPA” or “Act”), must be dismissed for lack of standing. Plaintiff,

  however, does not (and cannot) sufficiently allege that she suffered any tangible injury

  stemming from the alleged violations of the TCPA. Rather, Plaintiff only cursorily alleges

  that she (and other putative class members) suffered “an invasion of their privacy,

  aggravation, annoyance, intrusion on seclusion, trespass, and conversion.” Moreover,


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  “Defendant’s text messages also inconvenienced Plaintiff and caused a disruption of her

  daily life.” Id. at ¶¶3,35. These allegations are insufficient to establish a cognizable injury-

  in-fact and, thus, do not create a case or controversy. Accordingly, Plaintiff lacks Article III

  standing to bring his Complaint, the Court lacks subject-matter jurisdiction, and, thus, the

  Plaintiff’s Complaint must be dismissed.

      II.          BACKGROUND

                   Plaintiff filed his Class Action Complaint on July 11, 2018. [D.E. #1]. Plaintiff

  alleges that Defendant violated the TCPA by contacting her with a single “telemarketing

  text message” on or about March 23, 2018. Id. at ¶24. Plaintiff alleges that she received the

  text on her cellular telephone at a number ending in 4149- Plaintiff describes the offending

  text message as a “short-code, a standard 6-digit code that enables Defendant to send SMS

  text messages en masse.” Id. at ¶32. Plaintiff, however only provides a cursory explanation

  of how the “short-code” could possibly violate the TCPA, fails to provide adequate

  information on the origin of the offending text message other than to cite to the website of

  Callfire, Inc., (“Callfire”) a non-party to this action. Plaintiff fails to adequately allege how

  the “short-code” was provided by Callfire to Defendant and how the offending text message

  was actually delivered to Plaintiff. Id. at ¶32-33. See also Buslepp v. B&B Entertainment,

  LLC, 2012 WL 4761509 *4 (S.D. Fla. 2012).

                   The TCPA provides that it is unlawful to make any call using any automatic

  telephone dialing system (“ATDS”) or an artificial or prerecorded voice to any telephone

  number assigned to a cellular telephone service unless: (1) it is made for emergency

  purposes; (2) it is made with the prior express consent of the called party; of (3) unless the

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  call is made to collect a debt owed to or guaranteed by the United States. 47 U.S.C.

  §227(b)(1)(B).

                   Plaintiff alleges that he did not give prior express permission for Defendant to

  contact him using an ATDS. Complaint at ¶29.

                   Plaintiff seeks an injunction enjoining Defendant from making unsolicited calls

  in violation of the TCPA and a minimum of $500 for each violation (and to have damages

  trebled for willful or knowing violations of the TCPA as provided by §227(b)(3) of the

  TCPA). Id. at ¶¶54, 55, 60.

      III.         LEGAL STANDARD

                      A. Rule 12(b)(1) – Spokeo And Requirements for Article III Standing

             Article III of the United States Constitution limits the jurisdiction of the judicial

  branch to cases and controversies, and “standing to sue” is “a doctrine rooted in the

  traditional understanding of a case or controversy…and developed in[the] case law to

  ensure that federal courts do not exceed their authority as it has been traditionally

  understood.” Spokeo, Inc. vs. Robins, 136 S. Ct. 1540, 1546-47 (2016). To establish standing,

  Plaintiff “must have suffered an injury in fact—an invasion of a legally protected interest

  which is (a) concrete and particularized, and (b) actual or imminent, not conjectural or

  hypothetical.” Meyers v. Nicolet Rest. Of De Pere, LLC, 2016 U.S. App. LEXIS 22139, *4 (7th

  Cir. Wis. Dec. 13, 2016) (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992)).

  The injury-in-fact must be “fairly traceable to the Challenged conduct of the defendant” and

  “likely to be redressed by a favorable judicial decision.” Spokeo, 136 S. Ct. at 1547. More



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  than a “bare procedural violation, divorced from any concrete harm” is required to satisfy

  Article III’s injury-in-fact requirement. Meyers, 2016 U.S. App. LEXIS 22139, *6.

           “Congress’ role in identifying and elevating intangible harms does not mean that a

  plaintiff automatically satisfies the injury-in-fact requirement whenever a statute grants a

  person a statutory right and purports to authorize that person to sue to vindicate that

  right.” Spokeo, 136 S. Ct. at 1549. Injury-in-act is a constitutional requirement, and “[i]t is

  settled that Congress cannot erase Article III’s standing requirements by statutorily

  granting the right to sue to a plaintiff who would not otherwise have standing.” Id. at 1547-

  48; Raines v. Byrd, 521 U.S. 811, 820 n.3 (1997) (“Congress cannot erase Article III’s

  standing requirements by statutorily granting the right to sue to a plaintiff who would not

  otherwise having standing.”); Summers vs. Earth Island Inst., 555 U.S. 488, 497 (2009)

  (because the injury-in-fact requirement “is a hard floor of Article III jurisdiction,” it “cannot

  be removed by statute.”). Moreover, the Supreme Court has “always insisted on strict

  compliance with this jurisdictional standing requirement.” Id. at 819. As the Supreme

  Court has recently cautioned, “[i]n era of frequent litigation, class actions, sweeping

  injunctions with prospective effect, and continuing jurisdiction to enforce judicial

  remedies, courts must be more careful to insist on the formal rules of standing, not less so.”

  Ariz. Christian Sch. Tuition Org. v. Winn., 563 U.S. 125, 146 (2011).

           Plaintiff, as the party invoking federal jurisdiction, bears the burden of establishing

  these elements and, at the pleading stage, “the plaintiff must ‘clearly…allege facts

  demonstrating’ each element.” Id. at 1547. Where a plaintiff fails to establish standing, the



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  court lacks jurisdiction and the case must be dismissed. See generally Meyers, 2016 U.S

  App. LEXIS 22139, *3-10.

      IV.          ARGUMENT

                   Even when viewing the facts in a light most favorable to the non-moving party,

  the Court should dismiss Plaintiff’s Class Action Complaint for lack of standing. The Class

  Action Complaint lacks sufficient allegations on concrete harm, making vague and

  conclusory allegations regarding a single alleged text message, the sort of de minimis harm

  that is insufficient to satisfy Article III’s standing requirement. In the alternative, the Court

  should permit Plaintiff leave to allege with more specificity the harm she alleges to have

  suffered to withstand her lack of standing to bring the instant action.

                   A. Plaintiff Has Failed to Sufficiently Allege an Injury-In-Fact Sufficient To
                      Confer Article III Standing.


            Courts across the country are divided, but many have dismissed actions brought for

  bare statutory violations since the Supreme Court’s holding in Spokeo, holding that such

  allegations do not suffice to establish Article III standing. In Meyers, for example, the

  Seventh Circuit considered Spokeo’s holdings in the context of an alleged violation of the

  Fair Credit Reporting Act (“FRCA”). Meyers, 2016 U.S. App. LEXIS 22139. The plaintiff

  claimed that defendant violated the FRCA when it gave him receipt showing his credit

  card’s full expiration date, but sought only statutory damages (in addition to class

  certification). Id. at *2-3. The Seventh Circuit concluded, considering Spokeo and other

  precedent, that plaintiff had not suffered any actual harm because he discovered the

  violation immediately and nobody else ever saw the non-compliant receipt. Id. at 7-9.

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  Congress had sought to limit FRCA lawsuits to consumers suffering from actual harm, but

  plaintiff was not such a person and, therefore, lacked standing. Id. Plaintiff here has

  similarly relied on vague, conclusory allegations of statutory violations, with generic

  assertions of harm related to “invasion of his [sic] privacy, aggravation, annoyance,

  intrusion on seclusion, trespass, and conversion.” Even if sufficiently particular, these

  alleged damages are so de minimis that they cannot rise to the level of a cognizable injury.

           The Supreme Court has held that “[t]hee is…a de minimis level of imposition with

  which the Constitution is not concerned.” Ingraham v. Wright, 430 U.S. 651, 674 (1977);

  see also Skaff v. Meridien N. Am. Beverly Hills, LLC, 506 F. 3d 832, 839-40 (9th Cir. 2007) (de

  minimis injury alleged in complaint was “too trifling of an injury to support constitutional

  standing”). For example, in Hernandez v. Path, Inc., 2012 U.S> Dist. LEXIS 151035, *1-

  2(N.D. Cal. Oct. 19, 2012), the plaintiff alleged that a cell phone application he downloaded

  had caused “diminished mobile device resources” and the loss of “two to three seconds of

  battery capacity.” The district court found these allegations of diminished resources were

  so de minimis that they could not establish Article III standing. The same holds true here.

  Plaintiff vaguely alleges invasion of privacy, aggravation, annoyance, intrusion on seclusion,

  trespass, conversion and disruption to her daily life” resulting from the receipt of a single

  text message. Complaint at ¶¶ 3,35. Such “harm” should not be sufficient to invoke the

  jurisdiction of the federal courts.

           Courts have dismissed purported TCPA lawsuits that rely on similarly conclusory

  and de minimis allegations of harm since Spokeo. See Susinno v. Work Out World, Inc., No.

  15-5881, 2016 U.S. Dist. LEXIS 113664 (D.N.J. 2016), ECF No. 31 (granting motion to

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  dismiss after finding that TCPA plaintiff had not suffered an injury in fact from only one

  unwanted cell phone call) (as reported by Sartin v. EKF Diagnostics, Inc., No. 16-1816, 2016

  U.S. Dist. LEXIS 179155, *10) (E.D. La. Dec. 28, 2016)); Kostmayer Constr., LLC v. Port Pipe &

  Tube, Inc., No. 2:16-cv-01012, 2016 U.S. Dist. LEXIS 145947 (W.D. La Oct. 19, 2016)

  (dismissing TCPA claims where plaintiff alleged statutory violation and made only general

  reference to the harms contemplated by Congress). Defendant does not contend that TCPA

  violations could never cause injury in fact, but merely that a single alleged text to Plaintiff is

  de minimis.

           The Court in Susinno confronted a fact pattern where a putative class plaintiff

  alleged receiving only a single call. Susinno v. Work Out World, Inc. 2016 U.S. Dist. LEXIS

  113664, *1 (D.N.J. Aug. 1, 2016). The Court noted that a single call could not have a “legal

  impact” as it would not tie-up the phone line, would not have a tangible impact on battery

  power, and that “the prevention of annoying and repeated telemarketing calls . . . require

  that there needs to be some type of pattern or repeatedness to the telephone calls.” Id. at

  *23-24. The Court held that a prerecorded message lasting one minute and two seconds is

  not “a significant period of time” and constituted an “abstract . . . de minimis” harm. Id. at 24.

  Certainly, the same analysis should be applied to one text message.

           Because Plaintiff has not sufficiently alleged a concrete and particularized injury-in-

  fact, she lacks Article III standing and the case must be dismissed.

                   B. Plaintiff’s Class Allegations Create an Impermissible Fail-Safe Class

           Plaintiff’s class allegations should be stricken because they create an impermissible

  fail-safe class. A fail-safe class is defined such that whether a person qualifies as a member

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  of the class depends on whether the person has a valid claim. It purports to included only

  those who are entitled to relief, and is improper because a class member either wins or, by

  virtue of losing, is defined out of the class and is, therefore, not bound by the judgment. See

  Alhassid v. Bank of Am., N.A., 307 F.R.D. 684, 694 (S.D. Fla. 2015). The fail-safe class

  obtained its label because the class definition precludes the possibility of an adverse

  judgment against class members; the class members either win or are not in the class.

           Plaintiff proposes the following class definition in Paragraph (37) of the Class Action

  Complaint:

                   All persons within the United States who, within the four years prior to
                   the filing of this Complaint, were sent a call using an artificial or
                   prerecorded voice, from Defendant or anyone on Defendant’s behalf, to
                   said person’s cellular telephone number without emergency purpose
                   and without the recipient’s prior express written consent.

           Putting aside the inability to satisfy the requirements under Rule 23, Plaintiff’s class

  allegations plead an impermissible fail-safe class that requires individualized merits-based

  determination to ascertain class membership.             Plaintiff’s class definition is a classic

  example of a fail-safe class because it includes only those individuals who did not provide

  express written consent to be contacted and who were contacted via an ATDS or

  prerecorded voice. Because a lack of consent and use of an ATDS/prerecorded voice is a

  requirement for liability under the TCPA, Plaintiff’s proposed class depends on Defendant’s

  liability and so is an impermissible fail-safe class. Courts across the country routinely grant

  motion s to strike class allegations in TCPA actions alleging fail-safe classes. See, e.g.

  Zarichny v. Complete Payment Recovery Servs., 80 F. Supp. 3d 610, 625 (E.D. Pa. 2015)

  (granting motion to dismiss and strike fail-safe class allegations where “the putative TCPA

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  class is comprised of those people who received CPRS telephone calls without the

  recipient’s “prior express consent”); Espejo v. Santander Consumer USA, Inc. 2016 U.S. Dist.

  LEXIS 142259, at *26-27 (N.D. Ill. Oct. 14, 2016) (holding that plaintiff proposed an

  impermissible fail-safe TCPA class where membership required “a determination of

  consent – i.e., whether the called party’s number was ‘volunteered’ or ‘verified’ before [the

  defendant] used it”); Sauter v. CVS Pharmacy, Inc., 2014 U.S. Dist. LEXIS 63122 (S.D. Ohio

  May 7, 2015) (reviewing cases addressing whether proposed TCPA safe classes defined to

  include individuals who did not provide prior express consent qualified as fail-safe classes

  and finding that such classes are impermissible; Leyse v. Lifetime Entm’t Servs., LLC, 2017

  U.S> App. LEXIS 2607, *3 (2d Cir. N.Y. Feb 15, 2017): Dixon v. Monterey Fin. Servs., Inc.

  2016 U.S. Dist. LEXIS 82601 (N.D. Cal. June 24, 2016): Dixon v. Monterey Fin. Servs., Inc.

  2016 U.S. Dist. LEXIS 111687 (N.D. Cal. Aug. 22, 2016).

      V.           CONCLUSION

                   For the foregoing reasons, Defendant, SCHUMACHER AUTOMOTIVE, INC.

  respectfully requests that this Court grant its motion and dismiss Plaintiff’s Class Action

  Complaint in its entirety, or, in the alternative, strike the class allegations or permit Plaintiff

  leave to amend the Complaint to sufficiently state a cause of action.

                   Respectfully submitted this 17th day of August, 2018.




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                                   CERTIFICATE OF SERVICE

           I hereby certify that a true and correct copy of the foregoing was served by way of

  notice of electronic filing from the Court’s CM/ECF System on August 17, 2018, on all

  counsel or parties of record.

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